      Case: 22-11036   Document: 75-2    Page: 1   Date Filed: 04/07/2023




                  United States Court of Appeals
                                FIFTH CIRCUIT
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                             April 11, 2023


Mr. Zachery Z. Annable
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     No. 22-11036   Charitable DAF Fund, L.P. v. Highland
Capital Management, L.P.
                    USDC No. 3:21-CV-1974
                    USDC No. 3:21-CV-1979


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Record References: The use of "id" is not permitted when citing
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      Case: 22-11036   Document: 75-2   Page: 2   Date Filed: 04/07/2023



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